	NO. 07-10-0294-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	AUGUST 4, 2010
	______________________________


	JAMES RICHARD DOWNS,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 43rd DISTRICT COURT OF PARKER COUNTY;

	NO. CR09-0578; HON. DON CHRESTMAN, PRESIDING
	_______________________________

	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
Appellant James Richard Downs, by and through his attorney, has filed a motion to dismiss his appeal because he no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Do not publish.					Per Curiam		          
